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 1                                  UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
 2

 3                                                     §
     PAUL WRIGHT,                                      §
 4
                                                       §     Civil Action No.:
 5                       Plaintiff,                    §
                                                       §
 6                       v.                            §
                                                       §
 7
     BLUESTEM BRANDS, INC. d/b/a                       §     JURY TRIAL DEMANDED
 8   FINGERHUT,                                        §
                                                       §
 9                       Defendants.                   §
                                                       §
10

11                                            COMPLAINT
12           PAUL WRIGHT (“Plaintiff”), by and through his attorneys, KIMMEL &
13
     SILVERMAN, P.C., alleges the following against BLUESTEM BRANDS, INC. d/b/a
14
     FINGERHUT (“Defendant”):
15

16

17
                                            INTRODUCTION
18

19           1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection Act, 47
20   U.S.C. § 227, et seq. (“TCPA”).
21

22
                                       JURISDICTION AND VENUE
23
             2.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, which grants this court
24

25
     original jurisdiction of all civil actions arising under the laws of the United States. See Mims v.

26   Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
27
             3.      Defendants conduct business in the State of Texas, and as such, personal
28
     jurisdiction is established.



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 1          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 2

 3
                                                  PARTIES
 4

 5
            5.      Plaintiff is a natural person residing in Pharr, Texas 78577.

 6          6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 7          7.      Defendant is a company with its headquarters located at 6509 Flying cloud
 8
     Drive, Eden Prairie, Minnesota 55344.
 9
            8.      Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).
10

11          9.      Defendant acted through its agents, employees, officers, members, directors,

12   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
13

14
                                       FACTUAL ALLEGATIONS
15
            10.     Plaintiff has a cellular telephone number that he has had for several years.
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17          11.     Plaintiff has only used this number as a cellular telephone number.

18          12.     The phone number has been assigned to a cellular telephone service for which
19
     Plaintiff incurs a charge for incoming calls.
20
            13.     Beginning in or around May 2015 and continuing through July 2015, Defendant
21
     called Plaintiff on his cellular telephone on a repetitive and continuous basis.
22

23          14.     When contacting Plaintiff on his cellular telephone, Defendant used an
24   automatic telephone dialing system and automatic and/or pre-recorded messages.
25
            15.     Defendant’s automated messages identified its company name as the caller.
26
            16.     Defendant’s telephone calls were not made for “emergency purposes.”
27

28
            17.     Although Plaintiff had an account with Defendant, he revoked consent to be

     contacted on his cellular telephone when the calls began in mid May 2015.


                                                      2
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 1          18.     Defendant, although acknowledging Plaintiff’s revocation, ignored his request to
 2
     cease communication and continued to call.
 3

 4

 5
                                DEFENDANT VIOLATED THE
                           TELEPHONE CONSUMER PROTECTION ACT
 6
            19.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
 7

 8
     at length herein.

 9          20.     Defendant initiated multiple automated telephone calls to Plaintiff’s cellular
10
     telephone using a prerecorded voice.
11
            21.     Defendant initiated these automated calls to Plaintiff using an automatic
12
     telephone dialing system.
13

14          22.     Defendant’s calls to Plaintiff were not made for emergency purposes.

15          23.     Defendant’s calls to Plaintiff, after mid May 2015, were not made with
16
     Plaintiff’s prior express consent.
17
            24.     Defendant’s acts as described above were done with malicious, intentional,
18
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with
19

20   the purpose of harassing Plaintiff.

21          25.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
22
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
23
     defense, legal justification or legal excuse.
24

25
            26.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses

26   and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
27   damages.
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                                                       3
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 1           WHEREFORE, Plaintiff, PAUL WRIGHT respectfully prays for a judgment as follows:
 2
                   a.     All actual damages suffered pursuant to 47 U.S.C. §227(b)(3)(A);
 3
                   b.     Statutory damages of $500.00 per violative telephone call pursuant to 47
 4

 5
                          U.S.C. §227(b)(3)(B);

 6                 c.     Treble damages of $1,500 per violative telephone call pursuant to 47
 7                        U.S.C. §227(b)(3);
 8
                   d.     Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
 9
                   e.     Any other relief deemed appropriate by this Honorable Court.
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11

12                                DEMAND FOR JURY TRIAL

13           PLEASE TAKE NOTICE that Plaintiff, PAUL WRIGHT, demands a jury trial in this
14
     case.
15

16

17                                             Respectfully submitted,

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19
       Dated: July 23, 2015                    /s/ Amy Lynn Bennecoff Ginsburg
                                                Amy Lynn Bennecoff Ginsburg
20                                              Attorney-in-Charge for Plaintiff
                                                Pennsylvania Bar No. 202745
21                                              Federal Bar No. 1477508
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                                        PLAINTIFF’S COMPLAINT
